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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 CHERYL HALL, and BRAD
 LAFUZE, on behalf of themselves and
 all others similarly situated,

       Plaintiffs,                         Case No. 20-cv-10670
                                           Hon. George C. Steeh
 v.                                        Mag. Judge Patricia T. Morris

 WELLPATH, LLC,

       Defendant.

 LIDDLE & DUBIN, P.C.                      CHAPMAN LAW GROUP
 Steven D. Liddle (P45110)                 Ronald W. Chapman Sr., M.P.A.,
 Matthew Z. Robb (P81665)                  LL.M. (P37603)
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                                           wsuleiman@chapmanlawgroup.com


      DEFENDANT WELLPATH, L.L.C.’S REPLY TO PLAINTIFFS’
         RESPONSE TO DEFENDANT’S MOTION TO DISMISS


EXHIBIT A            Wellpath Policy and Procedure HCD-100_E09B – Timely
                     Initiation of Medication Upon Arrival for Grand Traverse
                     County Jail and Wayne County Jail
  Case 2:20-cv-10670-GCS-PTM ECF No. 16-2, PageID.205 Filed 08/05/20 Page 2 of 9

                                                                      Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 65460
Arrival --Grand Traverse MI
                                                                                 PAGE:          1 OF 4
                                                                                 VERSION:1
APPROVER: Worley, Nanette                                                        SUPERSEDES: Not Set
                                                                                 EFFECTIVE: 06/23/2019
                                                                                 REVIEWED: 06/23/2019



   1. PURPOSE

   This policy is intended to ensure that patients receive appropriate medications and that
   medications are administered in a timely manner upon admission to the facility.

   2. APPLICABILITY

   This policy applies to health care staff and other persons providing services at the request of
   Wellpath.

   3. POLICY

   Routine and High-Priority Medications ordered by an authorized prescriber are to be administered
   as soon as possible or consistent with pharmacy services directives as outlined below and no
   later than 48 hours after notification of the medication to health care staff.

   Facilities are expected to develop site-specific processes and supporting procedures, with
   implementation of this Policy Directive to follow within 90 days of its publication date.

   The site-specific procedures should at a minimum address the following considerations:

       •   Comparison between verified medication and the “High-Priority” medication list in
           Attachment 1

       •   Comparison between unverified medications and antiretroviral HIV medications (it is
           preferable to continue a reasonable antiretroviral HIV medication regimen and then
           interrupt it if the history was incorrect than to stop an actual regiment being taken)

       •   Processes employed to obtain “High Priority” medications, including stock medication,
           patient supplies, and immediate provision by contracted pharmacy

       •   Processes to ensure that medication obtained is administered timely



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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 65460
Arrival --Grand Traverse MI
                                                                                 PAGE:          2 OF 4
                                                                                 VERSION:1


      •    Continuous Quality Improvement reviews to ensure that High-Priority medication is being
           properly provided

   When completed, site specific procedures should be submitted to the appropriate Regional
   Director of Operations for review and approval by Wellpath Corporate Operations.

   4. INTERPRETATION / RESPONSIBILITY

   This policy is to be interpreted by the Wellpath Chief Clinical Officer or designee, and it is the
   responsibility of the Responsible Health Authority or designee to ensure implementation and
   adherence.

   5. DEFINITIONS

   Health Care Staff – Qualified health care professionals as well as administrative and supportive
   staff (e.g., health records administrators, laboratory technicians, nursing and medical assistants,
   and clerical workers).

   6. PROCEDURE

   6.1. High-Priority Medication

   High-Priority medications are those medications which should not be interrupted because of their
   clinical necessity and which have short enough half-lives such that routine initiation within 24
   hours of intake may not be quick enough for appropriate continuity of care. Attached to this policy
   directive is a “High-Priority Medication” list developed based upon usage, half-life, and the
   possible ill effects of medication interruption. Whenever possible, ongoing treatment regimens
   currently employing these medications should be continued without a single missed dose,
   whether the listed medication or a therapeutic substitution is provided.

   Every effort should be made to administer a High-Priority medication by the next scheduled dose
   after notification of the medication by the patient, but no later 24 hours after notification of the
   medication to the health care staff (unless unable to obtain due to backup pharmacy availability.)
   The High-Priority medication verification should be attempted with a telephonic communication.
   If the medication cannot be verified during the first attempt by telephone, the provider should be
   contacted for review.

   This policy directive describes an approach to continuity of care in provision of prescribed
   medication that balances the need to act quickly with the need to verify prior medication regimens

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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 65460
Arrival --Grand Traverse MI
                                                                                 PAGE:          3 OF 4
                                                                                 VERSION:1


   and avoid provision of potentially risky medication regimens. Please see the companion policy
   directive HCD-100_E-09A Medication Verification for additional information regarding initiation of
   medication.

   The list of High-Priority medications does not fully address continuity of care after return to a
   facility from a hospital setting. Wellpath is often able to facilitate early release from hospitals by
   effecting High-Priority continuity of care, and our obligation to ensure that such care continues in
   effect expands the list of High-Priority medications for that patient. Site practitioners are expected
   to review hospital care prior to or upon discharge; identify medications which need to be
   continued, can be discontinued, or can be modified; and arrange for timely provision of post-
   hospital care.

   The current listing of High-Priority medications is reasonably complete, but it cannot include
   medications not yet on the market, used in “orphan drug treatment” or in investigational but
   necessary regimens. Site health care staff identifying such circumstances should work to
   minimize interruptions in care to the extent that accomplishment is reasonable.

   6.2. Routine Medication

   Routine medications are medications not considered to be High-Priority medications. Routine
   medications will be attempted to be verified within 24 hours, or sooner, of notification of the
   medication to health care staff. Routine medications will generally be administered within 48
   hours of notification to health care staff, when ordered by a Wellpath prescriber or authorized
   prescriber.

   6.3. Pharmacy Services

   For High-Priority medications, sites with access to a seven (7) day backup pharmacy should have
   the medication available and administer the medication within 12 hours of the notification to health
   care staff.

   Sites without access to a seven (7) day backup pharmacy should attempt to have the medication
   available and administer the medication within 12 hours or as soon as possible. In this
   circumstance the site should consider the use of home medications, as approved by the Wellpath
   authorized prescriber.

   6.4. Use of Home and/or Sample Medications

   Home medications are prohibited except in the following circumstances:

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  Case 2:20-cv-10670-GCS-PTM ECF No. 16-2, PageID.208 Filed 08/05/20 Page 5 of 9

                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 65460
Arrival --Grand Traverse MI
                                                                                 PAGE:          4 OF 4
                                                                                 VERSION:1


      •    High-Priority medications that are not readily available and have been verified

      •    Medications that expire quickly once the seal is broken (i.e., Harvoni Sovaldi, etc.)

      •    Medications used for research protocols that were initially prescribed in the community
           and have been verified

      •    A Weekender, as determined by site policy and under the direction of the site Medical
           Director

      •    As determined by site policy, in conformity with applicable state and federal laws

   6.5. Narcotics and other controlled substances are easy to substitute with stock medications.
        These medications should not be administered from a home supply, except in extreme
        circumstances and reviewed on a case-by-case basis by the on-call provider and
        verification.

   6.6. Sample medications are prohibited to be used and administered, whether prescribed in the
        community or through a credentialed Wellpath or authorized provider.

   7. REFERENCES

   HCD-100_E-09A Medication Verification




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  Case 2:20-cv-10670-GCS-PTM ECF No. 16-2, PageID.209 Filed 08/05/20 Page 6 of 9

                                                                      Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 52665
Arrival --Wayne MI
                                                                                 PAGE:          1 OF 4
                                                                                 VERSION:1
APPROVER: Townsel, Audrey                                                        SUPERSEDES: Not Set
                                                                                 EFFECTIVE: 07/02/2019
                                                                                 REVIEWED: 07/02/2019



   1. PURPOSE

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                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 52665
Arrival --Wayne MI
                                                                                 PAGE:          2 OF 4
                                                                                 VERSION:1


      •    Continuous Quality Improvement reviews to ensure that High-Priority medication is being
           properly provided

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                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 52665
Arrival --Wayne MI
                                                                                 PAGE:          3 OF 4
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   and avoid provision of potentially risky medication regimens. Please see the companion policy
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  Case 2:20-cv-10670-GCS-PTM ECF No. 16-2, PageID.212 Filed 08/05/20 Page 9 of 9

                                                                     Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-09B Timely Initiation of Medication Upon                        REFERENCE: 52665
Arrival --Wayne MI
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